      Case 2:07-cr-00571-GEB Document 368 Filed 09/05/14 Page 1 of 1


1

2

3

4                         UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,            No.   2:07-cr-00571-GEB-5
8                   Plaintiff,
9         v.                              ORDER
10   GENERO LUNA,
11                  Defendant.
12

13              On August 11, 2014, Defendant filed, in pro per, a

14   Motion for Reduction and/or Modification of his Sentence under 18

15   U.S.C. ' 3582(c)(2). (ECF No. 367.) In essence, Defendant argues

16   the post-sentencing reduction of his base offense level by two

17   levels and his rehabilitation efforts justify a reduction and/or

18   modification of his sentence.

19              The government is requested to file a written response

20   to Defendant’s motion as soon as practicable.

21   Dated:    September 4, 2014

22

23

24

25

26
27

28
                                         1
